Case 1:23-cv-00108-LMB-JFA Document 630-8 Filed 05/16/24 Page 1 of 5 PageID# 12128




              EXHIBIT 
Case 1:23-cv-00108-LMB-JFA Document 630-8 Filed 05/16/24 Page 2 of 5 PageID# 12129

                                 HIGHLY CONFIDENTIAL

                                                                    Page 1

   1
   2                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
   3                                 ALEXANDRIA DIVISION
                  _____________________
   4
                  UNITED STATES,              )Case No.
   5              et al.,                     )1:23-cv-00108-LMB-JFA
                                              )
   6                  Plaintiffs,             )
                                              )
   7              vs.                         )
                                              )
   8              GOOGLE LLC,                 )
                                              )
   9                  Defendant.              )
                  _____________________)
 10
 11                             - HIGHLY CONFIDENTIAL -
 12
 13                         VIDEOTAPED 30(b)(6) DEPOSITION OF
 14                           UNITED STATES POSTAL SERVICE
 15                              through the testimony of
 16                                  CHRISTOPHER KARPENKO
 17                                   September 26, 2023
 18                                           12:37 p.m.
 19
 20
 21
                  Reported by:     Bonnie L. Russo
 22               Job No. 6105353

                                    Veritext Legal Solutions
       800-567-8658                                                   973-410-4098
Case 1:23-cv-00108-LMB-JFA Document 630-8 Filed 05/16/24 Page 3 of 5 PageID# 12130

                                                    HIGHLY CONFIDENTIAL
                                                            Page 2                                                          Page 4
       1         Videotaped 30(b)(6) Deposition of                    1           INDEX
                                                                      2   EXAMINATION OF CHRISTOPHER KARPENKO                PAGE
       2    United States Postal Service through the
                                                                      3   BY MS. MILLIGAN           7
       3    testimony of Christopher Karpenko held at:                4
       4                                                              5
       5                                                              6
       6                                                              7
                                                                      8
       7
                                                                      9              EXHIBITS
       8    Paul, Weiss, Rifkind, Wharton & Garrison, LLP            10
       9           2001 K Street, N.W.                               11   Exhibit 135 E-Mail Chain dated 10-1-19   8
      10           Washington, D.C.                                              Attachment
                                                                     12          USPS-ADS-0000631770-825
      11
                                                                     13   Exhibit 136 E-Mail Chain dated 1-17-23   13
      12                                                                         USPS-ADS-0000902290-373
      13                                                             14
      14                                                                  Exhibit 137 E-Mail Chain dated 9-2-20    29
                                                                     15          USPS-ADS-0000632284-285
      15
                                                                     16   Exhibit 138 E-Mail Chain dated 4-7-20    37
      16                                                                         USPS-ADS-0000160645-738
      17                                                             17
      18    Pursuant to Notice, when were present on behalf               Exhibit 139 E-Mail Chain dated 9-20-22   53
      19    of the respective parties:                               18          USPS-ADS-0000623759-841
                                                                     19
      20
                                                                     20
      21                                                             21
      22                                                             22   (Exhibits bound separately.)

                                                            Page 3                                                          Page 5
       1   APPEARANCES:
                                                                      1             PROCEEDINGS
       2   On behalf of the Plaintiffs:
       3    DAVID GROSSMAN, ESQUIRE                                   2               (12:37 p.m.)
            KATHERINE CLEMONS, ESQUIRE
                                                                      3
       4    JAMES RYAN, ESQUIRE
            ALVIN CHU, ESQUIRE                                        4            THE VIDEOGRAPHER: This is the
       5    VINNIE SIDHU, ESQUIRE
                                                                      5    30(b)(6) deposition of the U.S. Postal Service,
            UNITED STATES DEPARTMENT OF JUSTICE
       6    450 Fifth Street, N.W.                                    6    Media Unit 1 of the testimony of Chris Karpenko
            Washington, D.C. 20530
                                                                      7    taken in the matter of the United States, et
       7    david.grossman@usdoj.gov
            katherine.clemons@usdoj.gov                               8    al. versus Google LLC, case filed in the U.S.
       8    james.ryan@usdoj.gov
                                                                      9    District Court for the Eastern District of
            alvin.chu@usdoj.gov
       9    vinnie.sidhu@usdoj.gov                                   10    Virginia, Alexandria Division, Case
      10
                                                                     11    No. 1:23-cv-00108-LMB-JFA.
      11   On behalf of the Defendant:
      12    HEATHER MILLIGAN, ESQUIRE                                12           We are at the offices of Paul Weiss,
            ANNELISE CORRIVEAU, ESQUIRE
                                                                     13    2001 K Street, Northwest, in Washington, D.C.
      13    PAUL, WEISS, RIFKIND, WHARTON &
            GARRISON, LLP                                            14           The videographer is Jonathan Perry,
      14    2001 K Street, N.W.
                                                                     15    and the court reporter is Bonnie Russo both
            Washington, D.C. 20006
      15    hmilligan@paulweiss.com                                  16    here on behalf of Veritext.
            acorriveau@paulweiss.com
                                                                     17           And would counsel please introduce
      16
      17   Also Present:                                             18    themselves and state whom they represent.
           Jonathan Perry, Videographer
                                                                     19           MS. MILLIGAN: Heather Milligan from
      18   Michael Weaver, United States Postal Service
      19                                                             20    Paul, Weiss, Rifkind, Wharton & Garrison on
      20
                                                                     21    behalf of Google. Also with me is my
      21
      22                                                             22    colleague, Annelise Corriveau also from Paul

                                                                                                                   2 (Pages 2 - 5)
                                                      Veritext Legal Solutions
     800-567-8658                                                                                                  973-410-4098
Case 1:23-cv-00108-LMB-JFA Document 630-8 Filed 05/16/24 Page 4 of 5 PageID# 12131

                                          HIGHLY CONFIDENTIAL
                                                    Page 74                                                  Page 76
       1          BY MS. MILLIGAN:                          1      different documents, for example, the contract.
       2      Q. Sure.                                      2             I also had, through the course of my
       3      A. Thank you.                                 3      normal activities, after-campaign reviews or
       4      Q. You testified that the postal              4      planning for this fiscal year, FY24. That
       5   service is a federal agency. We buy media, and   5      wasn't specific for this, but it certainly
       6   the Department of Justice has filed a case with  6      could be relevant and relative to it.
       7   Google in response to my question about how      7         Q. Who on your team did you meet with?
       8   USPS became involved in this litigation.         8         A. So I have a number of people on the
       9          My follow-up question is: When did        9      team. Mike Bottenberg primarily, Tyler Jett.
      10   USPS become involved in this litigation?        10      Shalene Starr I think was at a meeting at one
      11          MR. GROSSMAN: I'll reiterate my          11      point. I think that was primarily from the
      12   instruction not to reveal the content of any    12      team specifically.
      13   communications with counsel, but you can answer 13         Q. Okay. Did you speak with anybody at
      14   as to regards to the time period.               14      Universal McCann in preparation for this
      15          THE WITNESS: I would say                 15      deposition?
      16   interactions would have been late December or   16         A. I have spoken with people at
      17   early -- most likely early January of 2023.     17      Universal McCann in the course of my normal
      18          BY MS. MILLIGAN:                         18      business day but not specifically tied to this
      19      Q. Okay. Did USPS have a choice to           19      deposition.
      20   participate in this lawsuit?                    20         Q. Okay. And did you speak with
      21          MR. GROSSMAN: Objection to form.         21      anybody at Matterkind in preparation for this
      22          THE WITNESS: I don't understand the      22      deposition?
                                                    Page 75                                                  Page 77
       1   question.                                           1      A. No.
       2          BY MS. MILLIGAN:                             2      Q. Who within USPS made the decision to
       3      Q. Mr. Karpenko, in preparation for              3   participate in this lawsuit?
       4   this deposition, did you prepare to testify         4          MR. GROSSMAN: Objection to form and
       5   about the circumstances that led USPS to be         5   foundation.
       6   involved in this lawsuit?                           6          THE WITNESS: The postal service
       7      A. I was asked on behalf of the postal           7   always works with the Department of Justice.
       8   service through DOJ to come here and provide        8          BY MS. MILLIGAN:
       9   responses to your questions.                        9      Q. Okay.
      10      Q. What did you do to prepare for this          10      A. They are our litigation arm if you
      11   deposition?                                        11   will.
      12          MR. GROSSMAN: Objection to the              12      Q. All right. And did -- do you know
      13   extent -- I will instruct the witness not to       13   one way or another whether or not USPS had a
      14   reveal any of the content of any communications    14   choice whether or not to participate in this
      15   with counsel, but you can answer in general        15   lawsuit?
      16   what you did to prepare.                           16          MR. GROSSMAN: Objection to form.
      17          THE WITNESS: For this deposition?           17          THE WITNESS: I don't know why the
      18          BY MS. MILLIGAN:                            18   postal service or any other agency wouldn't
      19      Q. Yes.                                         19   work with the Department of Justice if they
      20      A. I met multiple times with our USPS           20   felt that there was a potential case.
      21   counsel, DOJ counsel, my team, marketing team,     21          BY MS. MILLIGAN:
      22   as well as I read and reviewed a number of         22      Q. All right. And along those lines

                                                                                               20 (Pages 74 - 77)
                                            Veritext Legal Solutions
     800-567-8658                                                                                   973-410-4098
Case 1:23-cv-00108-LMB-JFA Document 630-8 Filed 05/16/24 Page 5 of 5 PageID# 12132

                                           HIGHLY CONFIDENTIAL
                                                    Page 82                                                           Page 84
       1         MR. GROSSMAN: Thank you.                      1 David Grossman Esq
       2         Nothing else.                                 2 David.grossman@usdoj.gov
                                                               3                  September 27th, 2023
       3         THE VIDEOGRAPHER: Off the record at
                                                               4 RE: United States, Et Al v. Google, LLC
       4   2:37. That ends the deposition.
                                                               5     9/26/2023, Karpenko , USPS 30(b)(6) (#6105353)
       5         (Whereupon, the proceeding was                6     The above-referenced transcript is available for
       6   concluded at 2:37 p.m.)                             7 review.
       7                                                       8     Within the applicable timeframe, the witness should
       8                                                       9 read the testimony to verify its accuracy. If there are
       9                                                      10 any changes, the witness should note those with the
                                                              11 reason, on the attached Errata Sheet.
      10
                                                              12     The witness should sign the Acknowledgment of
      11
                                                              13 Deponent and Errata and return to the deposing attorney.
      12                                                      14 Copies should be sent to all counsel, and to Veritext at
      13                                                      15 (erratas-cs@veritext.com).
      14                                                      16
      15                                                      17 Return completed errata within 30 days from
      16                                                      18 receipt of testimony.
      17                                                      19 If the witness fails to do so within the time
                                                              20 allotted, the transcript may be used as if signed.
      18
                                                              21
      19
                                                              22            Yours,
      20                                                      23            Veritext Legal Solutions
      21                                                      24
      22                                                      25
                                                    Page 83                                                           Page 85
       1           CERTIFICATE OF NOTARY PUBLIC                1 United States, Et Al v. Google, LLC
       2         I, Bonnie L. Russo, the officer before        2 Karpenko , USPS 30(b)(6) (#6105353)
       3   whom the foregoing deposition was taken, do         3           ERRATA SHEET

       4   hereby certify that the witness whose testimony     4 PAGE_____ LINE_____ CHANGE________________________
                                                               5 __________________________________________________
       5   appears in the foregoing deposition was duly
                                                               6 REASON____________________________________________
       6   sworn by me; that the testimony of said witness
                                                               7 PAGE_____ LINE_____ CHANGE________________________
       7   was taken by me in shorthand and thereafter
                                                               8 __________________________________________________
       8   reduced to computerized transcription under my      9 REASON____________________________________________
       9   direction; that said deposition is a true          10 PAGE_____ LINE_____ CHANGE________________________
      10   record of the testimony given by said witness;     11 __________________________________________________
      11   that I am neither counsel for, related to, nor     12 REASON____________________________________________
      12   employed by any of the parties to the action in    13 PAGE_____ LINE_____ CHANGE________________________
      13   which this deposition was taken; and further,      14 __________________________________________________
      14   that I am not a relative or employee of any        15 REASON____________________________________________

      15   attorney or counsel employed by the parties        16 PAGE_____ LINE_____ CHANGE________________________
                                                              17 __________________________________________________
      16   hereto, nor financially or otherwise interested
                                                              18 REASON____________________________________________
      17   in the outcome of the action.
                                                              19 PAGE_____ LINE_____ CHANGE________________________
      18
                                                              20 __________________________________________________
      19                                                      21 REASON____________________________________________
                   <%11937,Signature%>                        22
      20          Notary Public in and for                    23 ________________________________ _______________
      21          the District of Columbia                    24 Karpenko , USPS 30(b)(6)              Date
      22   My Commission expires: August 14, 2025             25

                                                                                                          22 (Pages 82 - 85)
                                             Veritext Legal Solutions
     800-567-8658                                                                                             973-410-4098
